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Exhibit 1
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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
HERITAGE FOUNDATION &               )
MIKE HOWELL,                        )
                                    )
      Plaintiffs                    )
                                    )
      v.                            )               Case No. 23-cv-1198 (CJN)
                                    )
U.S. DEPARTMENT OF HOMELAND         )
SECURITY                            )
                                    )
      Defendant.                    )
____________________________________)




                        DECLARATION OF SHARI SUZUKI


I, Shari Suzuki, declare as follows:

     1. I am the Freedom of Information Act (FOIA) Appeals Officer, and Chief of the

         FOIA Appeals and Policy Branch (FAP), Regulations and Rulings, Office of

         Trade (OT), U.S. Customs and Border Protection (CBP), U.S. Department of

         Homeland Security (DHS). Since April 2, 2006, I have been the official

         charged with the following responsibilities: (1) giving guidance and instruction

         to CBP personnel regarding processing FOIA requests; (2) adjudicating

         administrative appeals that concern FOIA requests; and (3) overseeing all CBP

         activities related to information disclosure under FOIA.
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 2. I am familiar with the request dated March 8, 2023, submitted by Heritage

    Foundation and Mike Howell (hereinafter Plaintiffs) for information from DHS,

    CBP, and U.S. Citizenship and Immigration Services.

 3. In furtherance of my responsibilities, I have access to records maintained in the

    ordinary course of business by CBP. All information contained herein is based

    upon information furnished to me in my official capacity, and the statements I

    make in this declaration are based on my personal knowledge, which includes

    knowledge acquired through, and agency files reviewed in, the course of my

    official duties.

 4. This declaration is filed in support of Defendant’s opposition to Plaintiffs’

    Motion for a Preliminary Injunction, and provides background on CBP’s

    processing of Plaintiffs’ March 8, 2023 request.

 5. Plaintiffs submitted a FOIA request to CBP dated March 8, 2023, seeking

    several categories of information regarding “Prince Henry Charles Albert David

    (Date of Birth 09/15/1984) of the British Royal Family aka Prince Harry aka

    His Royal Highness Prince Henry of Wales aka the Duke of Sussex”

    (hereinafter the Duke of Sussex). Plaintiffs’ requested expedited processing for

    the request. See Exhibit 1 to the Complaint.

 6. There was no indication in the March 8 request that the Duke of Sussex had

    authorized the release of his information to Plaintiffs.

 7. On March 9, 2023, CBP’s FOIA Division informed Plaintiffs that Plaintiffs’

    request had been closed as insufficient as Plaintiffs did not provide written

    authorization from the Duke of Sussex indicating that the Duke of Sussex




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    consented to his information being released to Plaintiffs. CBP also stated that

    “[d]ue to privacy concerns, CBP cannot confirm nor deny the existence of

    records on this individual or business.” See Exhibit 10 to the Complaint. This

    closure ended the processing of Plaintiffs’ request by CBP’s FOIA Division.

 8. A search for responsive records was not performed by CBP in response to

    Plaintiffs’ request, as the request itself was insufficient given the failure to

    provide written authorization from the Duke of Sussex for his information to be

    released to Plaintiffs. According to DHS regulations, when records pertaining

    to a third party are requested pursuant to FOIA, CBP is permitted to “require a

    requester to supply additional information if necessary in order to verify that a

    particular individual has consented to disclosure.” See 6 CFR 5.3(a)(4).

 9. On March 15, 2023, Plaintiffs submitted an appeal letter to CBP in response to

    the March 9 letter from CBP’s FOIA Division closing the Plaintiff’s request.

    Plaintiffs’ March 15 letter did not address expedited processing and did not

    include an authorization from the Duke of Sussex consenting to the release of

    his information to Plaintiffs. See Exhibit 11 to the Complaint.

 10. On April 5, 2023, Plaintiffs submitted an additional letter to CBP to

    “supplement the record in support of my request for expedited processing for

    my FOIA Request/Appeal CBP-FO-2023-053731.” See Exhibit 14 to the

    Complaint.

 11. On April 13, CBP contacted Plaintiffs to ask Plaintiffs to re-provide two

    appendices of information that were included with Plaintiffs’ April 5, 2023

    letter. Plaintiffs responded on April 20, 2023. See Exhibit 16 to the Complaint.




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 12. CBP had not issued a determination responding to Plaintiffs’ March 15, 2023

     appeal, supplemented by the April 5, 2023 letter, prior to the date upon which

     Plaintiffs’ filed their Complaint. On May 23, 2023, CBP issued a determination

     responding to Plaintiffs’ appeal, affirming that CBP’s FOIA Division

     appropriately closed Plaintiffs’ request as insufficient and that CBP can neither

     confirm nor deny the existence of records related to the Duke of Sussex as

     doing so would betray the privacy interests protected by Exemptions (b)(6) and

     (b)(7)(C). See Exhibit A.

Pursuant to 28 U.S.C. § 1746, I hereby affirm under penalty of perjury that the

information provided is true and correct to the best of my information, knowledge,

and belief.

Signed this __25th__ day of May, 2023.




                                 __________________________________

                                 Shari Suzuki, Branch Chief
                                 FOIA Appeals and Policy
                                 Office of Trade, Regulations and Rulings
                                 U.S. Customs and Border Protection
                                 U.S. Department of Homeland Security




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           EXHIBIT A
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                                                                        U.S. Department of Homeland Security
                                                                        Washington, DC 20229

                                                                        U.S. Customs and Border
                                                                        Protection


                                                                    DIS-3 OT:RR:RDL:FAP
                                                                    CBP-AP-2023-000828 MMC


                              May 23, 2023


Mr. Mike Howell
Director of the Oversight Project
Investigative Columnist at The Daily Signal
The Heritage Foundation
214 Massachusetts Avenue
Washington DC 20002


RE: Freedom of Information Act Appeal; Prince Henry Charles Albert David, Duke of
Sussex; CBP-FO-2023-053731

Dear Mr. Howell:

This is in response to your March 15, 2023 request, indicating your intent to appeal the March 8,
2023 information letter from the Freedom of Information Act (hereinafter “FOIA”) Division,
Privacy and Diversity Office, U.S. Customs and Border Protection (“CBP”).
Your FOIA Request and Appeal
In your initial request you sought, [a]ll records within the Alien File (A-File) of Prince Henry
Charles Albert David (Date of Birth 09/15/1984) of the British Royal Family aka Prince Harry
aka His Royal Highness Prince Henry of Wales aka the Duke of Sussex, including but not
limited to:
• Any and all applications for immigration benefits filed, whether or not adjudicated;
• Any and all Forms I-213;
• Any and all Forms I-275; and
• Any and all Forms I-877.
Additionally, you sought [a]ll records pertaining to the Duke of Sussex in the following system
of records maintained by CBP and DHS:
• Automated Targeting System (ATS, DHS/CBP-006);
• Advance Passenger Information System (APIS, DHS/CBP-005);
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• Border Crossing Information System (BCIS, DHS/CBP-007);
• U.S. Customs and Border Protection TECS (DHS/CBP-011);
• Non-Federal Entity Data System (NEDS, DHS/CBP-008);
• DHS Use of the Terrorist Screening Database (TSDB) System of Records (DHS/ALL-030);
• CBP Intelligence Records System (CIRS, DHS/CBP-024);
• DHS Automated Biometric Identification System (IDENT, DHS/USVISIT-004;
• Electronic System for Travel Authorization (ESTA, DHS/CBP-009);
• Nonimmigrant Information System (NIIS, DHS/CBP-016);
• Arrival and Departure Information System (ADIS, DHS/CBP-021); and
• Electronic Visa Update System (EVUS, DHS/CBP-022).
Finally you seek, all records relating to any requests for waiver pursuant to Section 212(d)(3) of
the Immigration and Nationality Act including, but not limited to, email communications within
the DHS Office of the Secretary, the USCIS Office of the Director, the CBP Office of the
Commissioner, or any subordinate office within those named departments or agency or a record
of any communication between any of those named entities and the U.S. Department of State, the
U.S. Embassy in London, the Federal Bureau of Investigation, or U.S. Immigration and Customs
Enforcement.
The FOIA Division indicated that your FOIA request was reviewed as a third-party request and
did not include authorization that information for the Duke of Sussex, could be released to you.
The FOIA Division asserted that all third party FOIA requests must include a signed G-28 or G-
639 form, or a signed statement from the subject individual verifying that his/her information
may be released to you. Furthermore, they indicated that due to privacy concerns, CBP could
neither confirm nor deny the existence of records concerning this individual. Therefore, your
FOIA request was closed as insufficient and no search for records was performed.
You are now appealing indicating amongst other things that there was:
    •   a violation of §5.6(e)(2), because there were no descriptions of the FOIA exemptions
        applied by CBP in denying the request;
    •    a violation of §5.6(e)(3), because there was no estimate of the volume of the records
        withheld, or a statement that it was protected by an applicable exemption; and
    •   you are questioning the adequacy of the search as per §5.8 (a)(1).
Finally, you argue that a third-party release is not necessary for this request because there is an
overwhelming countervailing public interest in the disclosure. You argue that public confidence
in the government would undoubtedly suffer if DHS, CBP, and USCIS failed to properly vet
such a high-profile case. Moreover, you argue that if the Duke of Sussex was granted preferential
treatment that too would undermine public confidence in DHS, CBP, and USCIS’s application of
equal justice under the law.


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Appeal Determination
The Freedom of Information Act was enacted to “ensure an informed citizenry, vital to the
functioning of a democratic society, needed to check against corruption and to hold the
governors accountable to the governed 1.” The law provides the public with the right to receive
records and information from the government in order to further democratic principles and allow
for independent evaluation of government action. This office reviewed your appeal with those
tenets in mind.
At the outset, we observe that FOIA Division denied your request on two separate grounds, first
that you failed to provide authorization from the Duke of Sussex allowing for the release of
agency records concerning him to you, and second that even acknowledging the existence of
records would infringe upon his privacy interests. We find that FOIA Division’s interpretation of
DHS Regulations was within the discretionary scope of the regulation and that the second applies
to all CBP records you have requested concerning the Duke of Sussex.


FOIA Division Used its Regulatory Discretion to Require the Requester Obtain
Authorization from the Subject of the Request

The FOIA specifies two requirements for a request: it must reasonably describe the records sought
and it must be made in accordance with the agency’s published FOIA regulations. See 5 U.S.C.
§522(a)(3).
The FOIA Division rejected your request because you failed to provide authorization from the Duke
of Sussex for the release of records relating to him. 6 C.F.R. §5.3(a)(4) states:
           [w]here a request for records pertains to a third party, a requester may receive greater access
           by submitting either a notarized authorization signed by that individual,… in compliance
           with the verification of identity provision set forth in subpart B of this part, or a declaration
           made in compliance with the requirements set forth in 28 U.S.C. 1746 by that individual,
           authorizing disclosure of the records to the requester, or by submitting proof that the
           individual is deceased (e.g., a copy of a death certificate or an obituary). As an exercise of its
           administrative discretion, each component can require a requester to supply additional
           information if necessary in order to verify that a particular individual has consented to
           disclosure.
In this instance we affirm the FOIA Division’s request for authorization to release the Duke of
Sussex’s CBP records. Nothing in the submission you have provided indicates verification that the
Duke of Sussex has consented to disclosure of his records to you. We therefore find that FOIA
Division appropriately closed your request as insufficient on the basis that it used its administrative
discretion to require additional information to verify that the Duke of Sussex has consented to
disclosure of his CBP records.
Exemptions 6 and 7(C) of the FOIA, 5 U.S.C. § 552(b)(6), (7)(C)



1
    Nat’l Labor Relations Bd. v. Robbins Tire & Rubber Co., 437 U.S. 214, 242 (1978).

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We affirm the FOIA Division’s second grounds for denial that the agency can neither confirm
nor deny the existence of records related to the Duke of Sussex as doing so would betray the
privacy interests protected by Exemptions (b)(6) and (b)(7)(C). Merely acknowledging the
existence of those records “would itself cause harm cognizable. 2” This stands as “an exception to
the general rule that agencies must acknowledge the existence of information responsive to a
FOIA request and provide specific non-conclusory justifications for withholding that
information. 3”

Both exemptions relate to protecting personal privacy and have been invoked here only to protect
personally identifying information of the Duke of Sussex who would be identified and
mentioned in the CBP records if any exist. Exemption (b)(6) protects “personnel and medical
files and similar files the disclosure of which would constitute a clearly unwarranted invasion of
personal privacy.” 5 U.S.C. § 552(b)(6). Exemption (b)(7)(C) excludes records or information
compiled for law enforcement purposes, but only to the extent that the production of such
materials “could reasonably be expected to constitute an unwarranted invasion of personal
privacy.” 5 U.S.C. § 552(b)(7)(C).
To determine whether this information ought to be withheld under the exemption, an agency
must first determine whether the exemption threshold has been met and, if it has, then must
balance the privacy interests involved against the public interest in disclosure. 4 In this case,
simply identifying whether records you seek exist confirms that the Duke of Sussex applied for
entry into the United States and therefore was inspected by CBP. The records from the systems
you request would provide any history of the Duke of Sussex’s travel to and from the United
States as well as any potential CBP violation he may have incurred. This, in and of itself, would
be a violation of his privacy interests.

As a threshold requirement, Exemption (b)(6) can only be applied to “personnel and medical and
similar files.” 5 U.S.C. § 552(b)(6). However, the range of documents falling within these
categories is interpreted broadly so as to include all government records “which can be identified
as applying to that individual. 5” We find that any travel or violation records that might exist
easily meet this initial threshold.

Although courts have found that an individual's status as a public figure might in some
circumstances factor into the privacy balance of Exemptions (b)(6) and (b)(7)(C), 6 a public


2
  Roth v. Dep’t of Justice, 642 F.3d 1161, 1178 (D.C. Cir. 2011).
3
  Id.
4
  Dep’t of Justice v. Reporters Comm. for Freedom of the Press, 489 U.S. 749, 762 (1989).

5
  Dep’t of State v. Washington Post, 456 U.S. 595, 602 (1982) (quoting H. R. Rep. No. 1497, 89th Cong., 2nd Sess.,
11 (1966)).
6
  See, e.g., Rosenfeld v. DOJ, No. 07-3240, 2012 WL 710186, at *4 (N.D. Cal. Mar. 5, 2012) (finding that privacy
interest "is low because . . . the subject is a public figure") (Exemptions 6 and 7(C)); Jud. Watch, Inc. v. DOJ, No.
00-0745, 2001 U.S. Dist. LEXIS 25731, at *13 (D.D.C. Feb. 12, 2001) (noting that pardoned prisoners "arguably
bec[a]me public figures through their well-publicized pleas for clemency and [given] the speeches some have made
since their release" and that EOUSA had failed to demonstrate that their privacy interests outweighed the public
interest in disclosure) (Exemption 7(C)).

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figure does not, by virtue of their status, forfeit all rights of privacy. 7 Courts have endorsed
responses that indicate the agency can neither confirm nor deny the existence of records, to
requests seeking records that might reveal whether an individual was investigated, because even
to acknowledge the existence of such records would typically cause an unwarranted invasion of
personal privacy. 8

As was established with your initial request, you have not provided authorization from the Duke
of Sussex for the release of any potential CBP travel, inspection or violation records.
Nevertheless, you argue that there is an overriding public interest in release of any records
because public confidence in the government would undoubtedly suffer if CBP failed to properly
vet such a high-profile case. Moreover, you argue that if the Duke of Sussex was granted

7
  See Forest Serv. Emps. for Env't. Ethics v. U.S. Forest Serv., 524 F.3d 1021, 1025 (9th Cir. 2008) (noting that
"while the privacy interests of public officials are 'somewhat reduced' when compared to those of private citizens,
'individuals do not waive all privacy interests . . . simply by taking an oath of public office'") (quoting Lissner v.
U.S. Customs Serv., 241 F.3d 1220, 1223 (9th Cir. 2001)); Kimberlin v. DOJ, 139 F.3d 944, 949 (D.C. Cir. 1998)
(stating that ''although government officials, as we have stated before, may have a 'somewhat diminished' privacy
interest, they 'do not surrender all rights to personal privacy when they accept a public appointment'") (quoting
Quinon v. FBI, 86 F.3d 1222, 1230 (D.C. Cir. 1996)) (Exemption 7(C)); Fund for Const. Gov't v. NARA, 656 F.2d
856, 865 (D.C. Cir. 1981); Jud. Watch, Inc. v. DOJ, 394 F. Supp. 3d 111, 118 (D.D.C. 2019) (finding that subject's
FBI-related notoriety certainly weakens their privacy interest but that their status as a "public figure with a well-
known association with the FBI does not, to be sure, destroy his privacy interest in other communications he may
have had with the FBI") (Exemptions 6 and 7(C)); Citizens for Resp. & Ethics in Wash. v. DOJ, 840 F. Supp. 2d
226, 233 (D.D.C. 2012) (observing that "'individuals have a strong interest in not being associated unwarrantedly
with alleged criminal activity'" and "this may be especially true for politicians who rely on the electorate to return
them to public office") (quoting Stern v. FBI, 737 F.2d 84, 91-92 (D.C. Cir. 1984)); Citizens for Resp. & Ethics in
Wash. v. DOJ, 846 F. Supp. 2d 63, 71 (D.D.C. 2012) (observing that "despite the fact that [a congressman's] privacy
interest is 'somewhat diminished' by the office he holds, he nevertheless 'd[id] not surrender all rights to personal
privacy when [he] accept[ed] a public appointment'") (quoting Quinon v. FBI, 86 F.3d 1222, 1230 (D.C. Cir. 1996))
(Exemption 7(C)); Taitz v. Astrue, 806 F. Supp. 2d 214, 219 (D.D.C. 2011) (noting that "an individual's status as a
public official does not, as plaintiff contends, 'make exemption 6 irrelevant to him and his vital records'"), summary
affirmance granted, No. 11-5304, 2012 WL 1930959 (D.C. Cir. May 25, 2012); Nat'l Sec. News Serv. v. Dep't of the
Navy, 584 F. Supp. 2d 94, 96 (D.D.C. 2008) (finding that "[d]isclosure of the requested patient admission records
only would reveal who was admitted to the Naval Medical Center; it would reveal nothing about the Navy's own
conduct" and "[t]his is so irrespective of whether one of the persons then admitted to the hospital is now a public
figure"); "do not forfeit all vestiges of privacy"); Phillips v. ICE, 385 F. Supp. 2d 296, 305 (S.D.N.Y. 2005)
(disregarding requester's unsupported claim that former foreign government officials have no "legitimate privacy
interest[s]"); Wolk v. United States, No. 04-0832, 2005 WL 465382, at *5 (E.D. Pa. Feb. 28, 2005) ("[O]fficials do
not surrender all of their rights to personal privacy when they accept a public appointment.") (Exemptions 6 and
7(C)); cf. McNamera v. DOJ, 974 F. Supp. 946, 959 (W.D. Tex. 1997) (stating that "[s]imply because an individual
was once a public official does not mean that he retains that status throughout his life," and holding that three years
after a disgraced sheriff resigned, he was "a private, not a public figure") (Exemption 7(C)).
8
  See, Lewis v. DOJ, 733 F. Supp. 2d 97, 112 (D.D.C. 2010) ("If an individual is the target of a FOIA request [for
investigative records], the agency to which the FOIA request is submitted may provide a 'Glomar' response, that is,
the agency may refuse to confirm or deny the existence of records or information responsive to the FOIA request on
the ground that even acknowledging the existence of responsive records constitutes an unwarranted invasion of the
targeted individual's personal privacy.") (Exemptions 6 & 7(C)); Smith v. FBI, 663 F. Supp. 2d 1, 5 (D.D.C. 2009)
("Because . . . confirmation of records concerning '[a]ny adverse action or disciplinary reports on [named] Agent . . .'
would necessarily reveal the precise information Exemption 6 shields, the Glomar response was proper.")
(Exemptions 6 & 7(C)); Cawthon v. DOJ, No. 05-0567, 2006 WL 581250, at *4 (D.D.C. March 9, 2006) (holding
that, with respect to a request for malpractice information, "defendant properly invoked exemption 6 with respect to
. . . its Glomar response [as to information maintained in the National Practitioner Data Bank]") (Exemptions 6 &
7(C)).

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preferential treatment that too would undermine public confidence in CBP’s application of equal
justice under the law.

Not all assertions of "public interest" under Exemptions 6 and 7(C) are legitimately entitled to
any real weight in the balancing process 9. A “bare suspicion” of agency misconduct is
insufficient. A FOIA requester must produce evidence that would warrant a belief by a
reasonable person that alleged Government impropriety might have occurred 10. An allegation of
"public interest" that is nothing more than a general public curiosity in the subject matter of
requested records is legally insufficient 11. You assert that public confidence in the government
would undoubtedly suffer if CBP failed to properly vet such a high-profile case and/or if the
Duke of Sussex was granted preferential treatment. You have submitted a significantly large
number of articles concerning behavior that describe activities that could result in the Duke of
Sussex facing heightened scrutiny at the border. You therefore argue the Duke of Sussex’s travel
and inspection records should be released to the public to determine if he was granted
preferential treatment because such treatment would undermine public confidence in DHS, CBP,
and USCIS’s application of equal justice under the law.

All persons, baggage and merchandise arriving in the Customs territory of the United States from
places outside thereof are liable to inspection by a CBP officer. 12 Unless exempt by diplomatic
status, all persons entering the United States, including U.S. citizens, are subject to examination
and search by CBP officers. CBP officers must determine the nationality of each applicant for
admission and, if determined to be a noncitizen, whether or not the applicant meets the
requirements of the Immigration and Nationality Act for admission to the United States.
CBP processed more than 179 million travelers at the ports of entry in FY2021, including more
than 44 million travelers at airports 13. CBP’s information systems are constantly updated with
timely and relevant information, such as a person’s behavior and demeanor at subsequent
interactions. Furthermore, information that may have subjected a traveler to additional scrutiny
at one time has the possibility of being considered untimely and irrelevant at a later date. Given
these facts, the results of one person’s CBP inspections, even a famous person, is insufficient
evidence to undermine public confidence in CBP and its application of equal justice under the
law. As such we find that you have not provided sufficient public interest to outweigh the Duke
of Sussex’s right to privacy concerning any potential CBP records about him that may or may
not exist.
Without an individual's consent or an overriding public interest, even to acknowledge the
existence of potential CBP travel, inspection or violation records pertaining to an individual
would constitute a clearly unwarranted invasion of personal privacy pursuant to Exemption 6 and
could reasonably be expected to constitute an unwarranted invasion of personal privacy pursuant
to Exemption 7(C).

9
  See, Church of Scientology v. Department of the Army, 611 F.2d 738, 747 (9th Cir. 1980) ("There could be no
legitimate public purpose served by disclosure of this information.").
10
   Aguirre v. SEC, 551 F. Supp. 2d 33, 56 (D.D.C. 2008)
11
   Fund for Constitutional Government v. National Archives & Records Service, 656 F.2d 856, 866 (D.C. Cir. 1981).
12
   19 C.F.R. 162.6
13
   CBP Trade and Travel Report Fiscal Year 2021| April 2022 p.4

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You have not provided consent from The Duke of Sussex. You have not provided an overriding
public interest in any potential Duke of Sussex’s CBP records. Therefore, CBP can neither
confirm nor deny the existence of the requested records.

The Freedom of Information Act, particularly Title 5 U.S.C. § 552 (a)(4)(B), provides you with
the opportunity to seek judicial review of this administrative appeal. You may institute judicial
review in the United States District Court in the district in which you reside, have a principal
place of business, where the agency records are located, or in the United States District Court for
the District of Columbia.

As part of the 2007 FOIA amendments, the Office of Government Information Services (OGIS)
was created to offer mediation services to resolve disputes between FOIA requesters and Federal
agencies as a non-exclusive alternative to litigation. Using OGIS services does not affect your
right to pursue litigation. If you are requesting access to your own records (which is considered
a Privacy Act request), you should know that OGIS does not have the authority to handle
requests made under the Privacy Act of 1974.

You may contact OGIS in any of the following ways: Office of Government Information
Services, National Archives and Records Administration, Room 2510,
8601 Adelphi Road, College Park, MD 20740-6001
E-mail: ogis@nara.gov Telephone: 301-837-1996: Toll-free: 1-877-684-6448
Facsimile: 301-837-0348

Please note that U.S. Customs and Border Protection (CBP) ended its participation in
FOIAonline on September 30, 2022. Requesters can now use the DHS Portal at
https://www.securerelease.us/ to send requests and appeals to CBP. Appeals filed in
FOIAOnline prior to October 1, 2022, will be processed. Please be patient as we work through
the transition process.

                                      Sincerely,

                                      Shari Suzuki
                                      Shari Suzuki, Chief
                                      FOIA Appeals, Policy, and Litigation
                                      Regulations and Rulings Directorate
                                      Office of International Trade
                                      Customs and Border Protection




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